                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                   DOCKET NO. 3:04CR250-C


UNITED STATES OF AMERICA,                        )
                                                 )                FINAL ORDER
               v.                                )           CONFIRMING FORFEITURE
                                                 )
(6) JACQUES MAULICE DEGREE                       )

       On May 6, 2005, Judge Voorhees entered a preliminary order of forfeiture in this case

pursuant to 21 U.S.C. §853(n) and Fed. R. Crim. P. 32.2(b), based upon defendant’s plea of

guilty to Count One in the indictment. In that count, defendant was charged with conspiracy to

possess with intent to distribute cocaine and cocaine base in violation of 21 U.S.C. §841(a)(1)

and §846.

       On January 1, 2006, the United States published in the Shelby Star, a newspaper of

general circulation, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property in accordance with the law, and further notifying all third parties of their right

to petition the Court within thirty days for a hearing to adjudicate the validity of any alleged legal

interest in the property. In addition, the government has represented that it has served notice on

the registered owner of one vehicle (the remaining vehicles being registered to defendant) by

certified mail, return receipt requested. It appears from the record that no third-party petitions

have been filed.

       It is therefore ORDERED:

       In accordance with 21 U.S.C. §853(n)(7) and Rule 32.2(c), the preliminary order of

forfeiture is confirmed as final. All right, title, and interest in the following property, whether




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real, personal, or mixed, has therefore been forfeited to the United States for disposition

according to law:

               a. $350,000 in drug proceeds.

               b. One 1999 Ford Expedition, VIN 1FMRU17L9XLA54385, in the name of
               Lashonda Danielle McSwain.

               c. One 1998 Dodge Durango, VIN 1B4HS28Y9WF160187, in the name of
               Jacques Maulice Degree.

               d. $13,000 in United States currency seized on April 1, 2004.

                                                 Signed: May 24, 2006




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